                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

JAMES JILEK, on behalf of himself                         )
and all others similarly situated,                        )
                                                          )
                        Plaintiff,                        )
                                                          )       Case No. 3:23-cv-00818-RJC DCK
         v.                                               )
                                                          )
COMPASS GROUP USA, INC., D/B/A                            )
CANTEEN,                                                  )
                                                          )
                        Defendant.                        )
         PLAINTIFFS’ SUPPLEMENT TO MOTION FOR CLASS CERTIFICATION

    Plaintiffs withdraw their request that Plaintiffs Brian Baldwin and Andres Borrero be appointed class

representatives and that the Court certify the South Carolina and Florida subclasses that they seek to

represent. Plaintiff Brian Baldwin seeks to withdraw from the case because of the circumstances he is facing

in his personal life and because, after beginning the process of preparing for his deposition, he concluded

that this case is far more involved and would entail much more work than he anticipated. Plaintiff Andres

Borrero is suffering from traumatically induced brain damage, causing him short-term and long-term

memory loss, and therefore cannot satisfy the adequacy requirement of Rule 23. Plaintiffs will be filing a

motion to dismiss both Messrs. Baldwin and Borrero without prejudice so they can remain in the putative

class.


Dated: April 1, 2024                                      GOLDENBERG HELLER &
                                                          ANTOGNOLI, P.C.

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    Case 3:23-cv-00818-JAG-DCK                Document 294          Filed 04/01/24       Page 1 of 3
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                                 2

Case 3:23-cv-00818-JAG-DCK   Document 294     Filed 04/01/24    Page 2 of 3
                                CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2024, the foregoing served upon all counsel of record via
electronic mail.


                                                     /s/ Richard S. Cornfeld




                                                 3

    Case 3:23-cv-00818-JAG-DCK            Document 294        Filed 04/01/24      Page 3 of 3
